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15
16                               UNITED STATES DISTRICT COURT

17                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

18    CITY OF LOS ANGELES,
19                                                               Case No.: 2:17-cv-07215-R-JCx
            Plaintiff,
20
                                                                 CITY OF LOS ANGELES’ NOTICE
21          v.
                                                                 OF APPLICATION AND
22                                                               APPLICATION FOR
      JEFFERSON B. SESSIONS, III, in his
                                                                 PRELIMINARY INJUNCTION
23    official capacity as Attorney General of the
      United States; ALAN HANSON, in his
24                                                               [Filed concurrently with Memorandum
      official capacity as Acting Assistant
                                                                 of Points and Authorities in support
25    Attorney General of the Office of Justice
                                                                 thereof; Declarations in support thereof;
      Programs; RUSSELL WASHINGTON, in
26    his official capacity as Acting Director of
                                                                 Request for Judicial Notice; Proposed
                                                                 Order]
27    the Office of Community Oriented Policing
28


                 CITY OF LOS ANGELES’ NOTICE OF APPLICATION AND APPLICATION FOR PRELIMINARY INJUNCTION
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1     Services; UNITED STATES                                  Judge: The Honorable Manuel L. Real
2     DEPARTMENT OF JUSTICE.                                   Date: Not set
                                                               Time: Not set
3           Defendants.
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               CITY OF LOS ANGELES’ NOTICE OF APPLICATION AND APPLICATION FOR PRELIMINARY INJUNCTION
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1    TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE that on September 4 or earlier, or as soon thereafter as
3    may be heard, in the above-entitled Court, before a judicial officer thereof, Plaintiff City
4    of Los Angeles (“Los Angeles” or “City”) shall and hereby does apply to the Court for an
5    order for a preliminary injunction, pursuant to Federal Rule of Civil Procedure 65 and
6    Local Rule 65-1, against Defendants Jefferson B. Sessions, III, in his official capacity as
7    Attorney General of the United States; Alan Hanson, in his official capacity as Acting
8    Assistant Attorney General of the Office of Justice Programs; and the United Stated
9    Department of Justice (“DOJ”), and their officers, agents, servants, and employees
10   (collectively “Defendants”). Plaintiff requests that the Court enjoin Defendants from
11   conditioning Los Angeles’ Fiscal Year (“FY”) 2017 Edward Byrne Memorial Justice
12   Assistance Grant (“Byrne JAG”) application and award on the Notice and Access
13   Conditions (announced by DOJ on July 25, 2017, and subsequently modified by DOJ)
14   and from withholding Los Angeles’ FY 2017 Byrne JAG award based on those
15   Conditions.
16         The Byrne JAG program funds local criminal justice programs pursuant to a
17   formula grant. Nothing in the statute authorizes the Attorney General to impose civil
18   immigration conditions on the grant. Defendants have nonetheless announced two civil
19   immigration-related conditions with which applicants must certify compliance in order to
20   receive Byrne JAG awards: (1) giving advance notice to federal immigration officials,
21   when requested, before releasing individuals from custody (“Notice Condition”) and (2)
22   affording federal immigration officials access to local jails for federal civil immigration
23   purposes (“Access Condition”).
24         Plaintiff is likely to succeed on the merits of its challenge to the imposition of the
25   Notice and Access Conditions in awarding Byrne JAG grants, as three courts have
26   already held. Defendants’ actions are ultra vires and in violation of the Separation of
27   Powers under the Constitution; in violation of the Spending Clause and the Tenth
28   Amendment; and arbitrary and capricious agency action in violation of the

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                CITY OF LOS ANGELES’ NOTICE OF APPLICATION AND APPLICATION FOR PRELIMINARY INJUNCTION
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1    Administrative Procedure Act. Absent an injunction, Plaintiff will be irreparably harmed
2    because Defendants put the City to an impossible choice: either it must certify
3    compliance with an unconstitutional and unlawful directive that impinges on the City’s
4    sovereignty, damages community trust, and harms public safety, or it will lose its
5    congressionally authorized Byrne JAG funding. The balance of equities tips decisively in
6    Plaintiff’s favor, and the public interest also favors an injunction.
7          Defendants have already awarded Byrne JAG funds to over 800 jurisdictions but
8    have not awarded funds to Los Angeles. In order to prevent irreparable harm, Plaintiff
9    respectfully requests that a preliminary injunction be entered.
10         This Application is based on this Notice of Application and Application, the
11   accompanying supporting Memorandum of Points and Authorities, the supporting
12   declarations of Arif Alikhan (Director of the Los Angeles Police Department’s Office of
13   Constitutional Policing and Policy), and Jeff Gorell (Deputy Mayor for Public Safety for
14   the City of Los Angeles), all other papers and pleadings on file in this action, and on such
15   other written or oral evidence as may be presented at or before the hearing on this
16   Application.
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                CITY OF LOS ANGELES’ NOTICE OF APPLICATION AND APPLICATION FOR PRELIMINARY INJUNCTION
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